Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 1 of 17 PAGEID #: 1970




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

                                                       :
     ROOT, INC., et al.,                               :    Case No. 2:23-cv-512
                                                       :
                      Plaintiffs,                      :    Judge Sarah D. Morrison
                                                       :
             v.                                        :    Magistrate Judge Elizabeth Preston Deavers
                                                       :
     BRINSON CALEB SILVER, et al.,                     :
                                                       :
                      Defendants.                      :

 PLAINTIFFS’ OPPOSITION TO QUANTASY DEFENDANTS’ MOTION TO QUASH
  SUBPOENAS FOR FINANCIAL RECORDS AND TO STAY DISCOVERY AS TO
                     THE QUANTASY DEFENDANTS

 I.        INTRODUCTION

           The Quantasy Defendants1 participated in a brazen kickback scheme to defraud Root of

 millions. Root – through its former Chief Marketing Officer, BC Silver – paid Quantasy, LLC

 $15.9 million for marketing services. Quantasy, LLC transferred more than half of Root’s

 money to Silver’s company, Collateral Damage, LLC, and ultimately kept over $3.5 million.

 Root received little to no marketing services in exchange. This scheme raises two questions:

                 First, what happened to the millions transferred to Collateral Damage, LLC?

                 Second, what happened to the millions retained by the Quantasy, LLC?

 As a result of Root’s investigation and the diligent work of the Receiver, Root now has an

 answer to the first question. Root’s money funded Silver’s opulent lifestyle which included

 purchases of jewelry, watercraft, airplanes and luxury real estate.

           Root now seeks to answer the second question. Root has a partial answer because it



 1
     The Quantasy Defendants include, Quantasy & Associates, LLC, Quantasy, LLC and William Campbell.
                                                       1
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 2 of 17 PAGEID #: 1971




 appears as if the Quantasy Defendants’ engaged in numerous suspicious transfers of large

 amounts of funds during the same time period. By way of example, early discovery revealed

 that, after receiving Root’s money, Quantasy, LLC, which is controlled William Campbell,

 transferred substantial amounts of money to Campbell and his wife. Not long thereafter, the

 Campbells purchased a $3.6 million home. In the course of discovery, Root requested bank

 records from the Quantasy Defendants to complete the picture of the Quantasy Defendants’

 finances – they refused.

          Thus, Root issued subpoenas on November 2 and 13, 2023, (the “Subpoenas”) to

 financial institutions seeking information about Defendants Quantasy, LLC, Quantasy &

 Associates, LLC (together, “Quantasy Entities”), and William and Christine Campbell.2 The

 Quantasy Defendants have moved to quash the Subpoenas and to stay discovery altogether. The

 motion is without merit. The Subpoenas seek non-privileged information that is highly relevant

 to Root’s claims for RICO, fraud, conversion, and breach of contract. To the extent the

 Quantasy Defendants are concerned about the sensitive nature of banking records, the Court

 entered the Parties’ Stipulated Protective Order to adequately protect that confidential

 information. Finally, it is well established that a stay of discovery is unwarranted simply

 because there is a pending motion to dismiss. Root is entitled to continue discovery for a fair

 and efficient resolution of the case. The Quantasy Defendants’ motion should be denied.

 II.      BACKGROUND

          A. Despite Providing Little to No Marketing Services to Root, Quantasy, LLC
             Accepts $15.9 Million from Root, Initially Retaining $6.4 Million and Sending
             $9.4 Million to Collateral Damage, LLC.


 2
     Root does not seek financial information concerning Campbell’s father, William Monroe
     Campbell. Root will clarify such with the Subpoena recipients.

                                                2
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 3 of 17 PAGEID #: 1972




        Silver and Campbell caused Quantasy, LLC and Root to enter into a series of contracts

 under which Root paid the Quantasy, LLC for marketing services and products. (Second Am.

 Compl., ECF No. 165, Exs. 3, 19, Scope of Work Agreements.) In total, Quantasy, LLC received

 $15.9 million from Root between February 2022 and April 2022. (Id. ¶ 138, Exs. 3, 19.)

 Quantasy, LLC sent $9.4 million of that to one of Silver’s entities, Collateral Damage, LLC

 (“Collateral Damage”), and retained $6.4 million for purported marketing services. (Id., Exs.

 14, 18, 30, 32, Collateral Damage Invoices to Quantasy, LLC & Ex. 41, Collateral Damage

 Scope of Work Change Request.) To date, Root has not received the marketing services provided

 in the contracts. (Id. ¶¶ 56, 85.) Upon Root’s demand, Quantasy, LLC refunded Root $2.85

 million. (Id. ¶ 138.) However, Quantasy, LLC still retains more than $3.5 million of Root’s

 money despite providing little to no substantive marketing services to Root.

        B. With an Enormous Influx of Revenue from Root, the Quantasy Defendants
           Make Suspicious Transfers, the Full Extent of Which Is Unknown.

        Quantasy, LLC did not spend Root’s money on marketing services but instead transferred

 it to the Campbell’s personal accounts or unknown accounts:

               On April 4, 2022, Silver caused Root to pay Quantasy, LLC $7.35 million.
                (Second Am. Compl. ¶ 59.) Four days later, on April 8, 2022, Campbell
                transferred $115,000 from the Quantasy, LLC account to an account Root
                subpoenaed and believes is Campbell’s personal account. (Ex. A.)

               On April 14, 2022, Silver caused Root to pay Quantasy, LLC an additional $7.35
                million. Shortly after, in June 2022, Campbell made two $300,000 wire transfers
                from Quantasy, LLC to account numbers Root cannot identify. (Ex. B and C.)

               On July 11, 2022, shortly before purchasing a new home, Campbell sent $710,000
                from Quantasy, LLC’s City National Bank account to a Chase account Root
                cannot identify. (Ex. C and D). Then, Campbell sent $2.5 million from Quantasy,
                LLC’s Chase account to an account held by him and his wife. (Ex. E.)

               When Root demanded a refund from the Quantasy Entities in August 2022, the
                $1.2 million refund was issued from Campbell and his wife’s personal account to
                Quantasy, LLC’s account and then to Root. (Ex. C, F, and G.)
                                                3
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 4 of 17 PAGEID #: 1973




 In sum, there is no question that Quantasy Defendants moved Root’s money between themselves

 and also to unknown accounts. There is no question that Campbell and his wife also commingled

 their personal funds with the money Quantasy, LLC received from Root. But neither the full

 extent of, nor reason for the transfers is known absent additional information. And that is

 precisely why Root needs additional discovery.

        C. Root Files Suit Against the Quantasy Defendants, Asserting Claims Ranging
           from Racketeering to Breach of Contract.

        Root asserts claims against the Quantasy Defendants for racketeering, fraud, conversion,

 theft, breach of contract, breach of fiduciary duties, and civil conspiracy. (Second Am. Compl.)

 On May 11, 2023, the Quantasy Defendants filed a motion to dismiss. (Mot. Dismiss Compl.,

 ECF No. 94.) In defense, the Quantasy Defendants have asserted, among other things: they did

 not know Silver was defrauding Root; they did know about, and/or did not send money to, co-

 Defendants Paige McDaniel, Collateral Damage, or Eclipse Home and Design, LLC (“Eclipse”);

 they did not conspire with co-defendants to buy houses to launder the money stolen from Root;

 they did not improperly pocket Root’s money but instead used it for marketing services for

 Root’s benefit; and Root cannot show that Campbell has control over the Quantasy Entities or

 commingles his personal finances with the Quantasy Entities’ accounts sufficient to pierce the

 corporate veil. (See generally id.) The Quantasy Defendants’ bank records are squarely relevant

 due to the claims and defenses asserted in this case.

        D. Root Provides the Quantasy Defendants with Fulsome Discovery.

        Root has fully participated in discovery. Quantasy & Associates, LLC and Campbell

 served Root with interrogatories, requests for production, and requests for admission on February




                                                 4
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 5 of 17 PAGEID #: 1974




 17, 2023. Root responded to written discovery on May 22, 2023. Root produced 7,996

 documents on May 19, 2023.

        E. Root Seeks Discovery from the Quantasy & Associates, LLC and Campbell, But
           Quantasy & Associates, LLC and Campbell Refuse to Provide Banking
           Information or Account Records.

        Root served its first discovery requests on Quantasy & Associates, LLC and Campbell

 on February 17, 2023. (Root’s Disc. Reqs. to Quantasy & Associates, LLC, Ex. H; Root’s Disc.

 Reqs. to Campbell, Ex. I.) Root requested from Campbell any bank records or documents that

 reflect any payment to or from Campbell from the Quantasy Entities, Collateral Damage,

 Eclipse, and/or Silver. (Root’s Disc. Reqs. to Campbell, Req. Produc. Nos. 7, 8.) Root requested

 from Quantasy & Associates, LLC “any bank records from January 1, 2021, to the present that

 reflect any payment to you by, or by you to, Campbell that relate to Root.” (Root’s Disc. Reqs.

 to Quantasy & Associates, LLC, Req. Produc. No. 16.) Quantasy & Associates, LLC refused to

 produce documents related to money exchanged between it and Campbell. (Quantasy &

 Associates, LLC’s Resps. and Objs. to Root’s Req. Produc. No. 16, Ex. J; Campbell’s Resps.

 and Objs. to Root’s Req. Produc. No. 7, Ex. K.)

        F. Root Serves Additional Discovery Requests and Is Forced to Issue the
            Subpoenas, But the Quantasy Defendants Move to Quash the Subpoenas and
            Stay Discovery.

        Root filed a Second Amended Complaint on August 11, 2023, adding Quantasy, LLC as

 a defendant. On November 2, 2023, Root issued subpoenas to several banks and financial

 institutions seeking account records from January 1, 2020 to present for the Quantasy

 Defendants, affiliated business entities, and Campbell’s wife. In addition, on November 20,

 2023, Root served discovery on Quantasy, LLC. At this point in time, Root has not received

 discovery answers from Quantasy, LLC.

                                                5
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 6 of 17 PAGEID #: 1975




             On November 15, 2023, the Quantasy Defendants filed a motion to quash the Subpoenas

 and to stay discovery. (Mot. Quash, ECF No. 185.) Root submits that the Quantasy Defendants’

 sudden effort to halt discovery is motivated by one thing – Root is finally untangling the

 Quantasy Defendants’ ball of yarn and is honing in on their misuse of Root’s funds.

      III.      LAW AND ARGUMENT

             A. The Quantasy Defendants’ Motion to Quash the Subpoenas Should Be Denied.

             Pursuant to Federal Rule of Civil Procedure 45, a court may “quash or modify a

 subpoena” that “fails to allow a reasonable time to comply,” “requires disclosure of privileged

 or other protected matter, if no exception or waiver applies,” or “subjects a person to undue

 burden.” Fed. R. Civ. P. 45(d)(3)(A).3 “The party seeking to quash a subpoena bears the ultimate

 burden of proof.” Hendricks, 275 F.R.D. at 253 (citing White Mule Co. v. ATC Leasing Co.

 LLC, 2008 U.S. Dist. LEXIS 51344, at *4 (N.D. Ohio June 25, 2008)). That burden is heavy,

 and not met by conclusory assertions of an interest or privilege. Schaumleffel v. Muskingum

 Univ., No. 2:17-cv-463, 2019 U.S. Dist. LEXIS 117210, at *4-5 (S.D. Ohio July 15, 2019). The

 Quantasy Defendants do not meet their heavy burden to show that Root’s Subpoenas improperly

 seek privileged or otherwise protected information.

      1. The Information Sought Is Relevant, Non-privileged, and Critical to Root’s Claims.

             Federal Rule of Civil Procedure 26(b)(1) dictates the scope of discovery in a civil suit.

 It permits parties to “obtain discovery regarding any non-privileged matter that is relevant to any

 party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1).


 3
     A party generally lacks standing to quash a subpoena issued to a nonparty. Hendricks v. Total
     Quality Logistics, LLC, 275 F.R.D. 251, 253 n.1 (S.D. Ohio 2011). There is a limited
     exception if the party “claims some personal right or privilege with regard to the documents
     sought.” Mann v. Univ. of Cincinnati, 1997 U.S. App. LEXIS 12482, 1997 WL 280188, at *4
     (6th Cir. May 27, 1997) (per curiam).
                                                     6
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 7 of 17 PAGEID #: 1976




 The scope is guided by “the importance of the issues at stake in the action, the amount in

 controversy, the parties’ relative access to relevant information, the parties’ resources, the

 importance of discovery in resolving the issues, and whether the burden of expense of the

 proposed discovery      outweighs    its   likely       benefit.”   Fed.   R.   Civ.   P.   26(b)(1).

 Where personal financial information is sought to prove a case in chief or an element thereof,

 the information is relevant and generally discoverable. Grayiel v. Aio Holdings, No. 3:15-CV-

 00821, 2017 U.S. Dist. LEXIS 233617, at *7 (W.D. Ky. May 2, 2017) (citing Alvarez v. Wallace,

 107 F.R.D. 658, 661 (W.D. Tex. 1985)). As set forth below, the financial information that Root

 seeks is non-privileged and relevant to Root’s claims in at least four ways.4

              a. RICO/Fraud

           The financial documents sought are relevant to Root’s RICO and fraud claims against

 the Quantasy Defendants.5 Courts regularly permit discovery of the defendants’ financial

 information in RICO and fraud cases because such information is necessary to proving the

 claims. See, e.g., Roche Diagnostics Corp. v. Priority Healthcare Corp., 2019 U.S. Dist. LEXIS

 177798, at *6 (N.D. Ala. Feb. 12, 2019) (citations omitted) (denying motion for protective order

 and motion to quash subpoena; plaintiffs demonstrated relevancy of financial documents sought


 4
     The Quantasy Defendants do not claim that the information is privileged.
 5
     Root’s Subpoenas may reveal additional information or even parties who are critical to the
     case. See Roche Diagnostics Corp. v. Priority Healthcare Corp., No. 2:18-cv-01479-KOB-
     HNJ, 2019 U.S. Dist. LEXIS 177798, at *17 (N.D. Ala. Feb. 12, 2019) (denying motion to
     quash subpoenas to non-party banks in RICO case because the records were likely to show
     additional entities that should have been part of the case). In Roche Diagnostics Corp., the
     court noted that one of the defendants was discovered through records obtained by subpoenas
     and “the records proved sufficient to demonstrating the entity’s role in supporting the
     enterprise.” Id. From similar subpoenas to co-defendant Silver’s banks, Root has discovered
     Silver’s luxury real estate purchases, additional related shell companies, and Silver’s attempt
     to flee the country and change his citizenship. The same discovery regarding Campbell is
     proper and necessary to meet the ends of justice.
                                                     7
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 8 of 17 PAGEID #: 1977




 from non-party bank in fraud and RICO case); Wicker v. Prabhu Paramatma, No. 2:19-CV-21-

 RWS, 2020 U.S. Dist. LEXIS 266127, at *11 (N.D. Ga. Mar. 16, 2020) (denying motion to quash

 subpoena in RICO/fraud case for “production of all documents regarding each and every bank

 account in the name of [defendant]” because, “this is a financial fraud case, and Plaintiff is

 interested in more than, and entitled to discovery beyond, Plaintiff's initial transfer of funds to

 [defendant].”); Grayiel, 2017 U.S. Dist. LEXIS 233617, at *14 (W.D. Ky. May 2, 2017)

 (granting motion to compel defendant to produce personal financial records in RICO case to

 show defendant was in receipt of assets or proceeds traceable to the co-defendant’s companies

 or otherwise received by co-defendant’s companies); State Farm Mut. Auto. Ins. Co. v. CPT

 Medical Services, P.C., 375 F. Supp. 2d 141, 156-57 (E.D.N.Y.2005) (personal financial records

 are discoverable where claims of common law fraud and RICO have been made); Constitution

 Bank v. Levine, 151 F.R.D. 278 (E.D. Pa. 1993) (finding that financial records are relevant where

 claims of fraudulent conveyance of assets are alleged).

        To succeed in its RICO claim for money laundering, Root will prove that Campbell and

 the Quantasy Entities (all of which Campbell controls) “used” Root’s money, which was

 “proceeds of unlawful activity,” to “disguise the nature, location, source, ownership or control

 of the proceeds.” 18 U.S.C. 1956(a)(1)(B)(i); United States v. Moss, 9 F.3d 543, 551 (6th Cir.

 1993). Likewise, for its fraudulent misrepresentation claim, Root will prove that the Quantasy

 Defendants represented that they would perform marketing services in exchange for payment

 but instead pocketed the money. (Second Am. Compl. ¶¶ 56, 85.)

        Here, there is reason to believe that Campbell withdrew Root’s money from the Quantasy

 Entities’ bank accounts and used that money to disguise its nature, location, source, ownership

 and control. By way of example only:

                                                 8
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 9 of 17 PAGEID #: 1978




             (1) Quantasy, LLC received $15.9 million from Root between February and April
                 2022 (Second Am. Compl. Exs. 4, 8, 16, 20, 21, 29);

             (2) On July 11, 2022, Campbell and his wife withdrew $2.5 million from a
                 Quantasy, LLC account (Ex. E);

             (3) Campbell and his wife purchased a $3.6 million dollar home in July 2022 (Ex.
                 L and M);

             (4) Christine Campbell personally withdrew funds from Quantasy, LLC accounts in
                 2022 (Ex. N);

             (5) The $1.2 million refund to Root was issued from Campbell and his wife’s
                 personal account to Quantasy, LLC’s account and then to Root (Ex. C, F, and
                 G).

 There may be additional evidence of such conduct in the Quantasy Defendants’ bank records.

 Moreover, Root also needs access to the Quantasy Defendants’ bank records to prove that

 Quantasy Defendants failed to spend the $3.6 million on marketing services for Root; this is

 especially true given that a cornerstone of the Quantasy Defendants’ defense is that they used

 Root’s money for the marketing campaign bargained for by Root.

    b. Conversion

        The financial documents are relevant and necessary to prove Root’s conversion claims.

 Conversion is the wrongful exercise of dominion over property in exclusion of the right of the

 owner. Zacchini v. Scripps-Howard Broadcasting Co., 47 Ohio St.2d 224, 351 N.E.2d 454

 (1976), rev’d on other grounds, 433 U.S. 562 (1977). In its motion to dismiss, the Quantasy

 Defendants argue that the funds are not sufficiently identifiable because Root cannot trace them.

 (Mot. Dismiss at 37-39.) The Quantasy Defendants’ financial records are necessary to trace

 Root’s money. See Barestone, LLC v. Bair (In re Bair), Nos. 18-12585, 18-1062, 2020 Bankr.

 LEXIS 3649, at *25 (Bankr. S.D. Ohio Dec. 31, 2020) (denying motion for judgment on the

 pleadings on plaintiff’s conversion claim because the money could be identifiable from account

                                                9
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 10 of 17 PAGEID #: 1979




  records and other evidence); Paws Up Ranch, LLC v. Green, No. 2:12-cv-01547, 2013 U.S. Dist.

  LEXIS 167174 (D. Nev. Nov. 22, 2013) (disclosure of personal financial records was

  appropriate where allegations of fraud, racketeering, conversion and unjust enrichment had been

  made). Like in Barestone and Paws Up Ranch, Root should be granted access to the Quantasy

  Defendants’ bank records to demonstrate the Quantasy Defendants’ conversion of those funds.

  How else would Root be able to trace the money?

     c. Breach of Contract

         The financial documents sought are also relevant to Root’s breach of contract claims.

  One of the elements of a breach of contract claim is that the defendant did not perform the

  services under the contract. Nichols v. State Farm Mut. Auto. Ins. Co., No. 2:22-cv-16, 2022

  U.S. Dist. LEXIS 186623, at *6 (S.D. Ohio Oct. 11, 2022) (citing Lucarell v. Nationwide Mut.

  Ins. Co., 97 N.E.3d 458, 469 (Ohio 2018)). Here, Root asserts that Quantasy, LLC failed to

  provide the services set forth in SOW #1 and SOW #2 and never intended to provide such

  services. (Second Am. Compl. ¶¶159-63.) The Quantasy Entities claim they spent Root’s money

  on legitimate marketing costs for Root. However, Root received little to no work from Quantasy

  Entities, despite Root’s $15 million in payments for purported marketing services. (Id. ¶¶ 56,

  85.) The Quantasy Entities’ bank accounts will confirm whether they indeed spent Root’s funds

  on marketing services for Root’s benefit.

     d. Piercing the Corporate Veil

         Root is also seeking to pierce the corporate veil to hold Campbell personally liable for

  the actions of the Quantasy Entities. To do so, Root will show that Campbell had “control over

  the corporation . . . [that] was so complete that the corporation ha[d] no separate mind, will or

  existence of its own. Ohio Bureau of Workers’ Comp. v. MDL Active Duration Fund, LTD., 476

                                                 10
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 11 of 17 PAGEID #: 1980




  F. Supp. 2d 809, 827 (S.D. Ohio 2007). Evidence of commingling funds between the defendant’s

  personal and business bank accounts is sufficient “control” to pierce the corporate veil. Howard

  Indus. v. BADW Grp., LLC, No. 20-5596, 2021 U.S. App. LEXIS 6102, at *9 (6th Cir. Mar. 2,

  2021) (affirming piercing the corporate veil, in part, because of the defendant’s “commingling

  of his personal and business assets”); Walters v. Gill Indus., No. 5:21-069, 2022 U.S. Dist.

  LEXIS 4842, at *17 (E.D. Ky. Jan. 10, 2022) (allowing plaintiff to pierce the corporate veil

  because “the corporate defendants’ funds were commingled” and the entities “shared common

  officers and did not have meetings or any other formalities that would distinguish one entity

  from another . . . .”). Root’s Subpoenas seek the financial information required to pierce the

  corporate veil and hold Campbell personally liable for his entities’ actions.

      2. Root Has No Other Means of Obtaining the Same Evidence.

           Root has no other way to obtain this information.6 Root attempted to discover this

  banking information directly from Quantasy Defendants, but the Quantasy Defendants refused

  to produce such information or claimed they did not have information as to where the money

  went. Because the Quantasy Defendants have refused to provide it, Root was forced to subpoena

  third parties.

           In its motion, the Quantasy Defendants claim that Root already has all the information

  necessary to determine whether Silver made illegal payments to the Quantasy Defendants. (Mot.

  Quash at 7.) The Quantasy Defendants confuse the issues. Root did not issue the Subpoenas

  solely to learn of Silver’s payments to the Quantasy Defendants.                           Root seeks fulsome



  6
   Root is waiting to receive the discovery responses from Quantasy, LLC prior to filing a motion to compel.
  Quantasy & Associates, LLC and Campbell’s discovery responses are deficient and the parties have exhausted all
  extra-judicial means to resolve the issues. Root suspects Quantasy, LLC’s discovery responses will be equally
  deficient. But in fairness, that remains to be seen. If Root is correct and the deficiencies persist, it will file an
  omnibus motion to compel against the Quantasy Defendants.
                                                           11
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 12 of 17 PAGEID #: 1981




  information as to what the Quantasy Defendants did with almost $16 million of Root’s

  money. The Subpoenas will reveal how the Quantasy Defendants used Root’s money for Root’s

  marketing and/or whether they laundered it.

     3. The Subpoenas Were Not Issued for Purposes of Harassment.

         The Subpoenas were not issued for the purpose of harassment because, as explained

  above, “the documents sought are directly related to the claims.” Foreman Elec. Servs. v.

  Haliron Power, LLC, No. 4:19-cv-04157, 2021 U.S. Dist. LEXIS 239689, at *7 (W.D. Ark. Dec.

  15, 2021) (denying motion to quash subpoena for personal financial records). Root seeks

  financial records to account for the near $16 million that was pilfered by the Quantasy

  Defendants and others, and to obtain evidence necessary to supports its claims against the

  Quantasy Defendants.

         Once the Court granted the Parties’ request for expedited discovery, Root served several

  subpoenas at the inception of this case. Some of those February 17, 2023, subpoenas sought

  Quantasy & Associates, LLC and Campbell’s banking records. The Quantasy Defendants did

  not object at the time and Root received some records in response. Several of the recently issued

  Subpoenas are simply follow-up requests for a broader range of time. Further, some of the

  Subpoenas are seeking confirmation that the banks responded with information for both

  Quantasy, LLC and Quantasy & Associates, LLC, a confusion perpetuated by the Quantasy

  Defendants throughout this case.

         In its motion, the Quantasy Defendants argue that it is not necessary to subpoena

  Campbell’s wife’s accounts. (Mot. Quash at 10.) However, Root is entitled to discover both

  Campbell and Christine Campbell’s relevant financial information. In State Farm Mutual Auto.

  Ins. Co. v. Physiomatrix, a court permitted discovery of bank accounts held jointly with spouses

                                                 12
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 13 of 17 PAGEID #: 1982




  who were not parties based on the plaintiff’s “valid explanations for the relevance of

  the subpoenaed banking records, including that the documents will help establish ownership . . .

  the structure of the enterprise . . . will measure the scope of the fraud . . . will show motive for

  the alleged conspiracy, and will help prove damages . . . .” No. 12-cv-11500, 2013 U.S. Dist.

  LEXIS 189646, at *3 (E.D. Mich. Aug. 13, 2013). The same is true here.

     4. The Stipulated Protective Order Sufficiently Protects the Sensitive Nature of the
        Information Sought.

         Any concerns that sensitive or privileged information will be released is mitigated by the

  parties’ Stipulated Protective Order. Schaumleffel v. Muskingum Univ., No. 2:17-cv-463, 2019

  U.S. Dist. LEXIS 117210, at *14 (S.D. Ohio July 15, 2019) (denying motion to quash subpoena

  for personal education information because the parties had stipulated in their protective order

  not to disclose or release sensitive information); Zakutney v. Moore, No. 5:21-CV-00018, 2022

  U.S. Dist. LEXIS 221, at *8 (W.D. Ky. Jan. 3, 2022) (denying motion to quash subpoena for

  financial records and agreeing that an agreed protective order would appease confidentiality

  concerns while permitting proper discovery); Wicker, 2020 U.S. Dist. LEXIS 266127, at *11

  (denying motion to quash subpoena for personal bank information, in part, because the parties

  agree to instate reasonable measures against disclosure). Here the Stipulated Protective Order

  dictates that confidential personal information, such as financial records, will be designated as

  confidential and only the Court and parties to the case will be permitted to view such information.

  (Stipulated Protective Order, ECF No. 69.)

         A. The Quantasy Defendants’ Motion to Stay Discovery Should Be Denied.

         After engaging in discovery for eight months – and receiving the benefit of written

  discovery and document productions from Root – the Quantasy Defendants belatedly move the


                                                  13
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 14 of 17 PAGEID #: 1983




  Court to stay discovery only as to the Quantasy Defendants. As set forth more fully below, the

  Quantasy Defendants’ motion to stay discovery should be denied.

         Stays of discovery are disfavored as they impede efficient case management and may

  increase litigation costs. Gerling & Assocs. v. Odulair, LLC, No. 2:16-cv-1000, 2017 U.S. Dist.

  LEXIS 180532, at *2 (S.D. Ohio Mar. 29, 2017). Courts “tread carefully in granting a stay of

  proceedings since a party has a right to a determination of its rights and liabilities without undue

  delay.” Wilson v. ThyssenKrupp Elevator Corp., No. 2:20-cv-2138, 2022 U.S. Dist. LEXIS 9137

  (S.D. Ohio Jan. 19, 2022). In these cases, “[t]he movant bears the burden of showing both a

  need for delay and that ‘neither the other party nor the public will suffer harm from entry of the

  order.’” Meros v. Dimon, No. 2:18-cv-00510, 2018 U.S. Dist. LEXIS 162569, at *3 (S.D. Ohio

  Sept. 24, 2018) (quoting Ohio Envtl. Council v. United States Dist. Court, S. Dist., etc., 565 F.2d

  393, 396 (6th Cir. 1977). Accordingly, courts generally only grant motions to stay discovery in

  two circumstances: where (1) “the motion raises an issue such as immunity from suit, which

  would be substantially vitiated absent a stay”; or (2) “it is patent that the case lacks merit and

  will almost certainly be dismissed.” Ohio Bell Tel. Co., Inc., v. Global Naps Ohio, Inc., No.

  2:06-cv-0549, 2008 U.S. Dist. LEXIS 21288, at *4 (S.D. Ohio Mar. 4, 2008).         It is undisputed

  that neither of the exceptions are present in this case.

         Instead, the Quantasy Defendants argue that discovery should be stayed because: (1) the

  Quantasy Defendants moved to dismiss on jurisdictional grounds; and (2) RICO claims are

  purportedly “difficult” to prove. Both arguments are without merit.

         First, the Quantasy Defendants assert that the court lacks personal jurisdiction over them,

  as argued in their pending motion to dismiss filed May 11, 2023. In the Southern District of

  Ohio, “[i]t is well established that ‘the pendency of a dispositive motion does not itself justify a

                                                   14
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 15 of 17 PAGEID #: 1984




  stay of discovery.’” Gerling & Assocs. v. Odulair, LLC, No. 2:16-cv-1000, 2017 U.S. Dist.

  LEXIS 180532, at *1-2 (S.D. Ohio Mar. 29, 2017) (internal citation omitted). The exception to

  grant a stay is a high bar and the virtual certainty of dismissal required to warrant a stay exists

  only where a narrow legal issue is presented, such as the running of the statute of limitations.

  Wilson v. ThyssenKrupp Elevator Corp., No. 2:20-cv-2138, 2022 U.S. Dist. LEXIS 9137, at *6

  (S.D. Ohio Jan. 19, 2022). Where such exceptional clear and discrete issues are absent, “it is not

  patently apparent whether said [dispositive] motion will be granted or denied.” Baker v. Swift

  Pork Co., No. 3:15-cv-663, 2015 U.S. Dist. LEXIS 152235, at *3 (W.D. Ky. Nov. 10, 2015).

  Here, the issue of personal jurisdiction in this case is not “virtually certain” or “patently

  apparent.” As described in detail in Root’s response to the motion to dismiss, the Quantasy

  Defendants are subject to personal jurisdiction in Ohio because they engaged in business in Ohio

  with an Ohio company and sent money to and received money from Ohio residents, Root and

  Silver. (Pls.’ Resp. to Mot. Dismiss at 15-26, ECF No. 135.)

         Second, the Quantasy Defendants also point to the difficulty in proving RICO cases as a

  reason to stay discovery. (Mot. Quash at 14.) However, the Quantasy Defendants have failed

  to point the Court to any authority that a stay of discovery is appropriate in RICO cases. (Id.)

  Moreover, Root asserts eight claims against the Quantasy Defendants, ranging from fraud to

  breach of contract. (See generally Second Am. Compl.) Root’s RICO claim is one of many

  claims it asserts against the Quantasy Defendants. (Id.) Therefore, a stay of discovery is not

  warranted on these grounds.

         Finally, Quantasy & Associates, LLC and Campbell have actively engaged in discovery

  for eight months. They sought discovery from Root and received written responses and a

  fulsome document production. The Quantasy Defendants cannot now claim they want a stay of

                                                  15
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 16 of 17 PAGEID #: 1985




  discovery only after receiving fulsome discovery from Root in an effort to prevent Root from

  tracing the funds. This is especially true given that much of the focus of the current discovery

  is related to recently named defendant, Quantasy, LLC.

     IV.      CONCLUSION

           For the foregoing reasons, Root respectfully requests the Court deny the Quantasy

  Defendants’ Motion to Quash Root’s Subpoenas and to Stay Discovery.

  DATED: December 6, 2023

                                                  Respectfully submitted,

                                                  /s/ William D. Kloss, Jr.
                                                  William D. Kloss, Jr. (0040854), Trial Attorney
                                                  Elizabeth S. Alexander (0096401)
                                                  Grace E. Saalman (0101603)
                                                  VORYS, SATER, SEYMOUR AND PEASE LLP
                                                  52 East Gay Street, P.O. Box 1008
                                                  Columbus, Ohio 43216-1008
                                                  Phone: (614) 464-6360
                                                  Fax: (614) 719-4807
                                                  wdklossjr@vorys.com
                                                  esalexander@vorys.com
                                                  gesaalman@vorys.com

                                                  Matthew L. Kutcher (IL Bar No. 6275320)
                                                  COOLEY LLP Admitted Pro Hac Vice
                                                  110 N. Wacker Drive Suite 4200
                                                  Chicago, IL 60606
                                                  Phone (312)-881-6500
                                                  Fax (312)-881 6598
                                                  mkutcher@cooley.com

                                                  Kristine A. Forderer (CA Bar No. 278754)
                                                  COOLEY LLP Admitted Pro Hac Vice
                                                  3 Embarcadero Center
                                                  San Francisco, CA 94111
                                                  Phone (415) 693-2128
                                                  kforderer@cooley.com

                                                  Counsel for Plaintiffs

                                                16
Case: 2:23-cv-00512-SDM-EPD Doc #: 201 Filed: 12/06/23 Page: 17 of 17 PAGEID #: 1986




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing was served December 6,

 2023, via CM/ECF upon all counsel of record for Quantasy & Associates, LLC, Quantasy, LLC

 and William Campbell, and via regular mail upon Paige McDaniel, Brinson Caleb Silver,

 Collateral Damage, LLC, and Eclipse Home Design, LLC as set forth below:

 Paige McDaniel
 5576 Alexanders Lake Rd.
 Stockbridge, GA 30281

 Brinson Caleb Silver
 Butler County Jail
 Attn. Brinson Caleb Silver
 Inmate # 303850
 705 Hanover Street
 Hamilton, OH 45011

 Collateral Damage, LLC
 c/o Butler County Jail
 Attn. Brinson Caleb Silver
 Inmate # 303850
 705 Hanover Street
 Hamilton, OH 45011

 Eclipse Home Design, LLC
 Registered Agent: United States Corporation Agents, Inc.
 651 N. Broad Street, Suite 201
 Middletown, DE 19709


                                         /s/ William D. Kloss, Jr.
                                         William D. Kloss, Jr. (0040854)

                                         Attorney for Plaintiffs




                                               17
